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                          UNITED STATES BANKRUPTCY COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA
IN RE:                                    ) Bankr. No. 24-20004 CMB
        ROBERT U. HANDLOW, JR.,           )
                                          ) Chapter 13
                       Debtor.            )
                                          ) Docket No. 58
        WELLS FARGO BANK,                 ) Related to Docket No.
                                          )
                       Movant,            ) Hearing Date & Time:
                                          )
                        vs.               ) Claim No. 1
                                          )
         ROBERT U. HANDLOW, JR.           )
         AND RONDA J. WINNECOUR, )
         CHAPTER 13 TRUSTEE,              )
                                          )
                       Respondents.       )
               DECLARATION OF MORTGAGE PAYMENT CHANGE
        And Now, comes the Debtor, Robert U. Handlow, Jr. by and through his attorney, who
respectfully represents the following:

      1. On or about January 2, 2024, Debtor filed for protection under Chapter 13 of the U.S.
Bankruptcy Code.

      2. This Notice is being filed to notify the Chapter 13 Trustee of the change in mortgage
payment amount.

       3. Wells Fargo Bank filed a Notice of Mortgage Payment Change

         (a) The monthly mortgage payment of $1,169.94 is being decreased $1,143.31 effective
3/1/2025.

       4. The Chapter 13 Plan is sufficient to fund the mortgage payment change.
WHEREFORE, the Debtor requests that this Honorable Court permit the Chapter 13 Trustee to
immediately make the monthly mortgage payment with the next distribution in the effective
amount.                                       Respectfully submitted.
Date: 10/24/2024                             /s/ Rodney D. Shepherd
                                             Rodney D. Shepherd, Esquire
                                             Attorney for the Debtors
                                             PA I.D. No. 56914
                                             2403 Sidney Street, Suite 208
                                             Pittsburgh, PA 15203
                                             (412) 471-9670
                                             rodsheph@cs.com
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                             CERTIFICATE OF SERVICE

       I, Rodney D. Shepherd, attorney for the Debtor, hereby certifies that a true and correct
copy of the Declaration of Mortgage Payment Change was served on the 4th day of March, 2025,
by Electronic Filing, upon the following:

Ronda J. Winnecour, Esquire                        Wells Fargo Bank
Chapter 13 Trustee                                 Attn: Brent Lemon, Esquire
cmecf@chapter13trusteewdpa.com                     blemon@kmllawgroup.com

                                                   By: /s/ Rodney D. Shepherd
                                                      Rodney D. Shepherd
                                                      Attorney for the Debtor
                                                      PA I.D. No. 56914
                                                      rodsheph@cs.com
                                                      2403 Sidney Street
                                                      Suite 208
                                                      Pittsburgh, PA 15203
                                                      412 471-9670
